     Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 1 of 35

CASE NUMBER: TBD                                      November 9TH, 2018




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                 NO COUNTY DISTRICT COURT OF WASHINGTON
                       AT SEATTLE — WEST DIVISION
                                516 3rd Ave
                             Seattle, WA 98104




       ISABELLE KERNER,                                CASE NO. TBD
                                                        ?) CLV )    7.1_    )-/-
                         Plaintiff,
                V.


       SEATTLE POLICE DEPARTMENT,
                                                        COMPLAINT

                         Defendant.




Complaint - 1                                             Isabelle Kerner
        Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 2 of 35

CASE NUMBER: TBD                                                      November 9TH, 2018


                                 TABLE OF CONTENTS

I.     INTRODUCTION                                                                        5
            1.    OBLIGATION TO PERFORM UNBIASED POLICING                                  5
            2.    HISTORY OF BIAS POLICING                                                 5
            3.    OBLIGATION TO APPLY LAWS EQUALLY                                         5
            4.    RIGHT TO FREE SPEECH                                                     5
            5.    COMMON SENSE AND POLICE DISCRETION                                       6
            6.    CONFLICTS IN THE CLASSIFICATION OF "BIAS CRIMES"                         6
            7.    BRIEF SUMMARY OF EVENTS                                                  7
II.     JURISDICTION AND VENUE                                                             9
            1.    KING COUNTY DISTRICT COURT                                               9
III.    PARTIES                                                                           10
            1.    ISABELLE KERNER                                                         10
            2.    SEATTLE POLICE DEPARTMENT                                               10
IV.     FACTUAL ALLEGATIONS                                                               10
            1.    TITLE 5, SECTION 1, ARTICLES 2,10, 11, 13, AND 14 OF THE SPD POLICES MANUAL
                                                                                           10
            2.    THE INCIDENT- 17-374035                                                  10
            3.    RCW 9A.36.080                                                            12
            4.    DEFENDANTS ABUSE DISCRETION                                              13
            5.    DEFENDANTS APPROACH SCENE OF INCIDENT AND ENCOUNTER PLAINTIFF            15
            6.    DEFENDANTS INTENTIONALLY FALSIFY INFORMATION                             15
            7.    DEFENDANTS BLAME PLAINTIFF FOR ASSAULT                                   16
            8.    TITLE 15, SECTION 120-POL IN VIEW OF RCW 9A.36.080 AND SMC 12A.06.115
                                                                                           16
            9.    DEFENDANTS VIOLATE RCW 9A.80.010 - OFFICIAL MISCONDUCT                   18
            10.   DEFENDANTS VIOLATE RCW 42.20.100 - FAILURE OF DUTY                       19
            11.   PLAINTIFF FILES COMPLAINT WITH OFFICE OF PROFESSIONAL ACCOUNTABILITY
                  (0 PA)                                                                   20
            12.   DEFENDANT(S) INTIMIDATE OPA INVESTIGATION WITNESSES VIOLATING            20
            13.   PHYSICAL AND MENTAL IMPLICATIONS OF DEFENDANTS RESPONSE TO INCIDENT 20

V.     FIRST CAUSE OF ACTION                                                              22
            1.    OFFICIAL MISCONDUCT RCW 9A.80.010                                       22

VI.     SECOND CAUSE OF ACTION                                                            23
            1.    FALSE REPORT RCW 42.20.040                                              23
VII.     THIRD CAUSE OF ACTION                                                            25
            1.    FAILURE OF DUTY RCW 42.20.100 IN VIEW OF RCW 9A.36.080 MALICIOUS
                  HARASSMENT                                                    25
VIII.    FOURTH CAUSE OF ACTION                                                           27
            1.    FAILURE OF Dtriy RCW 42.20.100 IN VIEW OF RCW 9A.36.011 AND RCW
                  10.31.100                                                     27
IX.     FIFTH CAUSE OF ACTION                                                             30
            1.    VIOLATION OF THE FIFTH AMENDMENT                                        30
X.     SIXTH CAUSE OF ACTION                                                              30
            1.    VIOLATION OF THE FOURTEENTH AMENDMENT                                   31


Complaint - 2                                                               Isabelle Kerner
       Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 3 of 35

CASE NUMBER: TBD                                                   November 9TH, 2018

XI.    DAMAGES AND RELIEF REQUESTED                                                   31
          1.    COMPENSATORY DAMAGES                                                  31
          2.    PUNITIVE DAMAGE                                                       31
          3.    REMOVAL OF FALSIFIED INFORMATION ON SPD DATABASE                      31
XII.   EXHIBITS                                                                        32
          1.      EXHIBIT A - 20170PA-1080 CASE CLOSE SUMMARY                          32
          2.      EXHIBIT B - POLICE REPORT - 17-374035_REDACTED                       32
          3.      EXHIBIT C - SOHAIB 911 CALL - AuDio_1779785                          32
          4.      EXHIBIT D - ISABELLE 911 CALL - Aunio_1779786                        32
          5.      EXHIBIT E - SUSPECT VIDEO -AXON_BODY_2_VIDE0_2017-10-08_0054         32
          6.      EXHIBIT F - SUSPECT TO OFFICER- 7715_4020171008010502                32
          7.      EXHIBIT G - OFFICER TO ATTACKERS - CHARGING BIAS CRIME -
                  6793_4020171008011642                                                32
           8.     EXHIBIT H - SCISSOR LIFT - IMG_2626                                  32
           9.     EXHIBIT I- SCISSOR LIFT VIDEO TIME STAMP - IMG_2627                  32
           10.    EXHIBIT J - VIDEO AMBULANCE SCENE - AXON_BODY_2_VIDE0_2017-10-
                  08_0128_REDASCTED                                                    32
           11.    EXHIBIT K - VIDEO AMBULANCE -8395%4020171008005933_REDAcTED          32
           12.    EXHIBIT       L    -      BYSTANDER     TESTIMONY     TO     OFFICER
                  8395%4020171008005934_REDAcTED                                       32
           13.    EXHIBIT M - AMBULANCE SCENE - AXON_BODY_2_VIDE0_2017-10-08_0128-
                  2_REDACTED                                                           32
           14.    EXHIBIT N - INCORRECT CASE NUMBER                                    32
           15.    EXHIBIT 0 - CALL FROM OFFICER TO PARAMEDICS - Am:110_1779788         32
           16.    EXHIBIT P - ERIN TO SRGT - INDEPENDENT WITNESS 6269_4020171100814643
                                                                                       33
           17.    EXHIBIT Q - SUSPECT INJURY - SCREEN SHOT 2017-11-14 AT 11.50.58 PM   33
           18.    EXHIBIT R - 20170PA-1080 AUDITOR CERTIFICATION MEMO AS UNTIMELY      33
           19.    EXHIBIT S - 20170PA-1080 CIVILIAN (DND__) - SGT ANTHONY
                  BENNETT_REDACTED                                                     33
           20.    EXHIBIT T - 20170PA-1080 CIVILIAN (DND_)                   SGT ANTHONY
                  BENNETT_REDACTED                                                     33
           21.    EXHIBIT U - 20170PA-1080 CIVILIAN (DND) - SGT ANTHONY
                  BENNETT_REDACTED                                                     33
           22.    EXHIBIT V - 20170PA-1080 OPA CLASSIFICATION REPORT                   33
           23.    EXHIBIT W - 20170PA-1080 INVESTIGATION PLAN & CASE SUMMARY_REDACTED
                                                                                       33
           24.    EXHIBIT X - FRANCISCO HAYWARD BACKGROUND PROFILE                     33
           25.    EXHIBIT Y 20170PA-1080 INTAKE FOLLOW-UP_REDACTED                     33
           26.    EXHIBIT Z - 20170PA-1080 PAS ENTRY - RAGUSO                          33
           27.    EXHIBIT ZO - 20170PA-1080 CASE COMPLETION MEMO                       33
           28.    EXHIBIT Z1 - 20170PA-1080, LEWIS SIGNED RECEIPT, WRITTEN REPRIMAND 33
           29.    EXHIBIT Z2 - 20170PA-1080 COMPLAINANT VM 06-11-18                    33
           30.    EXHIBIT Z3 - 20170PA-1080 AMR DOCUMENTS PROVIDED BY COMPLAINANT 33
           31.    EXHIBIT Z4 - 20170PA-1080 Aurn0_1790674 911 CALL #1                  33
           32.    EXHIBIT Z5 - 20170PA-1080 Aunio_1790675 911 CALL #2                  33
           33.    EXHIBIT Z6 - 20170PA-1080 Aunio_1790676 911 CALL #3                  33
           34.    EXHIBIT Z7 - 20170PA-1080 Auolo_1790677 911 CALL #4                  33
           35.    EXHIBIT Z8 - 20170PA-1080 COMPLAINANT VM (1-16-2018)                 33


Complaint - 3                                                            Isabelle Kerner
    Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 4 of 35

CASE NUMBER: TBD                                                   November 9TH, 2018

         36.    EXHIBIT Z9 - 20170PA-1080 COMPLAINANT VM (2-23-2018)                   33
         37.    EXHIBIT Z10 - 20170PA-1080 DCM FINAL                                   33
         38.    EXHIBIT Z11 - 20170PA-1080 DISCIPLINE MEETING                          33
         39.    EXHIBIT Z12 - 20170PA-1080 INTERVIEW AVAILABILITY REQUEST - LEWIS
                020218                                                        34
         40.    EXHIBIT Z13 - 20170PA-1080 INTERVIEW AVAILABILITY REQUEST - RAGUSO
                020218                                                          34
         41.    EXHIBIT Z14 - 20170PA-1080 MEDICAL RELEASE FORM OPA ISABELLE KERNER
                                                                                 34
         42.    EXHIBIT Z15 - 20170PA-1080 OPA CLASSIFICATION NOTIFICATION EMAIL       34
         43.    EXHIBIT Z16 - 20170PA-1080 ORIGINAL COMPLAINT SUMMARY                  34
         44.    EXHIBIT Z17 - 20170PA-1080 SWORN EMPLOYEE IN-PERSON INTERVIEW
                NOTIFICATION - RAGUSO 020618                               34
         45.    EXHIBIT Z18- 20170PA-1080 SWORN           WITNESS EMPLOYEE      IN-PERSON
                INTERVIEW NOTIFICATION - CLARK 020218                                  34
         46.    EXHIBIT Z29 - 20170PA-1080 SWORN WITNESS EMPLOYEE IN-PERSON
                INTERVIEW NOTIFICATION - PATTON 020618                   34
         47.    EXHIBIT Z20 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
                NOTIFICATION - AGUIRRE 020618                             34
         48.    EXHIBIT Z21 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
                NOTIFICATION- JORDAN 020618                               34
         49.    EXHIBIT Z22 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
                NOTIFICATION - WARNOCK 020618                             34
         50.    EXHIBIT Z23 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
                NOTIFICATION - WOOLLUM 020618                             34
         51.    EXHIBIT Z24 - 20170PA-1080 WITNESS EMPLOYEE - INTERVIEW AVAILABILITY
                REQUEST - WooLLum 020218                                         34
         52.    EXHIBIT Z25 - 20170PA-1080 WITNESS OFFICER - INTERVIEW AVAILABILITY
                REQUEST - ABTS-OLSON 020218                                     34
         53.    EXHIBIT Z26 - 20170PA-1080 WITNESS OFFICER - INTERVIEW AVAILABILITY
                REQUEST - CLARK 020218                                          34
         54.    EXHIBIT Z27 - 20170PA-1080 WITNESS OFFICER - INTERVIEW AVAILABILITY
                REQUEST - WARNOCK 020218                                        34
         55.    EXHIBIT Z28 - 20170PA-1080, LEWIS PROPOSED DAR PACKET                  34
         56.    EXHIBIT Z29 - 20170PA-1080, LEWIS WRITTEN REPRIMAND PACKET             35
         57.    EXHIBIT Z30 - 20170PA-1080 COMPLAINANT VM 06-07-18                     35
         58.    EXHIBIT Z31 - ISABELLE TO SRGT - EXPLAINING OFFICER CONDUCT - ADMITTING TO
                INDEPENDENT WITNESS - 6269_4020171008014644                             35
         59.    EXHIBIT Z32 -ARM INJURIES                                              35
         60.    EXHIBIT Z33 - HAIR/SCALP INJURIES                                      35
         61.    EXHIBIT Z34 - LEG CONTUSIONS                                           35
         62.    EXHIBIT Z35 - INJURY/MEDICAL RECORDS                                   35



Complaint - 4                                                            Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 5 of 35

     CASE NUMBER: TBD                                                  November 9TH, 2018


1       I. INTRODUCTION
 2        1. OBLIGATION TO PERFORM UNBIASED POLICING

 3         A. No officer of the Seattle Police Department (SPD) should ever allow their
 4              gender, sexual orientation, race, or any other discernable characteristics
 5              to interfere with their judgment when a crime has been committed.
 6         B. The Fourteenth Amendment states that no "State [shall] deprive any
 7              person of life, liberty, or property, without due process of law; nor deny
8               to any person within its jurisdiction the equal protection of the laws."
 9        2.   HISTORY OF BIAS POLICING

10         A. The SPD has a history breaking the rules and policies outlined in the
11              Seattle Police Department Manual. This has resulted in bias policing,
12              excessive use of force, and corruption within the department.
13         B. Multiple complaints, lawsuits, and investigations involving the SPD have
14              upheld the department's failure to provide services in a professional,
15              nondiscriminatory, fair, and equitable manner.
16        3.   OBLIGATION TO APPLY LAWS EQUALLY

17         A. It is the SPD's job to enforce the law. The SPD is prohibited from
18              determining to whom the law applies per the Fourteenth Amendment.
19         B. The case below demonstrates that some SPD Officers are either
20              unfamiliar with basic laws or feel that they have the authority to
21              determine who is required to follow the law and who is not.
22        4.   RIGHT TO FREE SPEECH

23         A. The first amendment is arguably the most well known amendment
24              amongst the public. There are very few instances when the U.S. Supreme
25              Court has made exceptions to the First Amendment. The only categories
26              of free speech that fall outside the First Amendment's protection are:
27              obscenity, child pornography, defamation, incitement to violence and true
28              threats of violence - and even within these categories there are tests that
29              must be met in order for free speech to be illegal.
30


     Complaint - 5                                                           Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 6 of 35

     CASE NUMBER: TBD                                                  November 9TH, 2018

31        5. COMMON SENSE AND POLICE DISCRETION

32         A. While a threat of violence may in some instances be illegal, an act of
33             violence is always illegal. The Hate Crimes Prevention Act makes it illegal
34             to physically harm someone based on their race, religion, national origin,
35             gender or sexual orientation, among other characteristics. Assault is
36             defined by common law as an attempt to initiate harmful or offensive
37             contact with an individual. Battery is a criminal offense involving the
38             unlawful physical acting upon a threat. Battery is defined in common law
39             as, "any unlawful and or unwanted touching of the person of another by
40             the aggressor, or by a substance put in motion by him." All forms of
41             assault and battery are outlawed in Washington State under Chapter
42             9A.36 of the Revised Code of Washington (RCW).

43         B. Despite these laws, it appears that the social and racial diversity on
44             Capitol Hill and in the greater Seattle metropolitan area has confused the
45             SPD into thinking that they can use their discretion to determine what the
46             law is and whom they think it should apply to.

47        6. CONFLICTS IN THE CLASSIFICATION OF "BIAS CRIMES"

48         A. According to RCW 9A.36.080 speech is only considered malicious
49             harassment if a person "threatens a specific person or group of persons
50             and places that person, or members of the specific group of persons...The
51             fear must be a fear that a reasonable person would have under all the
52             circumstances.... [and] a reasonable person is a reasonable person who is
53             a member of the victim's race, color, religion, ancestry, national origin,
54             gender, or sexual orientation, or who has the same mental, physical, or
55             sensory handicap as the victim."

56         B. A man can easily have an obvious superior biological and physical
57             capability to a woman. Men and women have differences in the strengths
58             and characteristics of muscle fibers. Women are only considered to be
59             approximately 50 to 70 percent as strong as men in upper body strength.


     Complaint - 6                                                          Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 7 of 35

     CASE NUMBER: TBD                                                  November 9TH, 2018

60         C. According to RCW 9A.36.078, "...A hate crime committed against a victim
61             because of the victim's gender may be identified in the same manner that
62             a hate crime committed against a victim of another protected group is
63             identified. Affirmative indications of hatred towards gender as a class is
64             the predominant factor to consider. Other factors to consider include the
65             perpetrator's use of language, slurs, or symbols expressing hatred
66             towards the victim's gender as a class; the severity of the attack including
67             mutilation of the victim's sexual organs; a history of similar attacks
68             against victims of the same gender by the perpetrator or a history of
69             similar incidents in the same area; a lack of provocation; an absence of
70             any other apparent motivation; and common sense."
71         D. "Bitch" is a derogatory term used against women, who in comparison to
72              men, are the disadvantaged sex and are on average 50 to 70 percent as
73             strong as men in upper body strength.
74        7.   BRIEF SUMMARY OF EVENTS

75         A. On October 8, 2017, at approximately 12:55am, the Plaintiff, Isabelle
76              Kerner, was sitting at the end of the platform of a cherry picker ("scissor
77             lift") illegally parked in the middle of the sidewalk outside of Nuemos on
78              the southwest corner of 10th Ave E and Pike St. She was with two friends
79              waiting for two other friends to get pizza.
80         B. A group of men walked by and called her "a stupid fucking bitch". They
81              continued walking and someone replied, "You're the bitch" or something
82              of that sort. She had no previous verbal or physical contact with any of
83              the men. After the group of men called her "a stupid fucking bitch" she
84              turned around to resume the conversation she was having with her
85              friends. Her face was faced east and the back of her head was faced west.
86         C. The group men ran up to the end edge of the scissor lift she was sitting
87              on, attacked her from behind, grabbed her by her hair and attempted to
88              drag her off of the 4-6 foot platform onto the concrete while they punched
89              her in the back of the head several times and continued trying to rip her
90              hair out.


     Complaint - 7                                                           Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 8 of 35

      CASE NUMBER: TBD                                                  November 9TH, 2018

 91         D. The group of men then ran west down Pike street. A bystander, Zulfiquar
 92            Sohaib, who witnessed the incident, intervened to stop the assault. He
 93            was punched in the face by the group of men and called 911. He remained
 94            on the line while following the group of men west several blocks to the
 95            intersection of Harvard and Pike streets.


 96         E. At the intersection of Harvard and Pike streets, Mr. Sohaib flagged down
 97            one of the Defendants, SPD Officer Donovan Lewis.


 98         F. Prior to responding to the Plaintiff's 911 call, the Defendants went to the
 99             intersection of Harvard and Pike streets; responding to Mr. Sohaib's 911
100            call. Mr. Sohaib led the Defendants to the corner where the group of men
101             was standing. One of the men was urinating on the sidewalk with a bottle
102            of tequila in his back pocket. This is captured and acknowledged on police
103            audio and video recording.


104         G. The Defendants told the Plaintiff that she had jumped onto one of them
105             and "twisted his wrist". The Defendant(s) told the Plaintiff the attack was
106             justified by self-defense. The Defendant(s) also told the Plaintiff that the
107             group of men had "blood all over them". The Defendant(s) also told the
108             Plaintiff the only "independent witness" was friends with the group of
109             men and was on his way to meet up with them.


110         H. Prior to questioning the Plaintiff, who was waiting in an ambulance at the
111             scene of the crime and prior to running a background check on any of the
112             men or the Plaintiff, one of the Defendants, Officer Lewis, asked the men if
113             they believe they were "targeted" by the Plaintiff for their race and/or
114             sexual orientation.


115         I. The men then seized the opportunity and alleged that the Plaintiff had
116             yelled racial and homophobic slurs at them.


      Complaint - 8                                                           Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 9 of 35

      CASE NUMBER: TBD                                                   November 9TH, 2018

117         J.   Defendant Officer Lewis then released the men without making any arrest
118              and traveled with another Defendant, SPD Sergeant Raguso, and went to
119              the scene where the attack occurred and where the Plaintiff was waiting
120              in an ambulance. Upon his arrival, Officer Lewis immediately accused the
121              Plaintiff of making the racial and homophobic remarks the group of men
122              alleged and implied she deserved to be attacked.
123         K. The Defendants knew or should have known that a 5 foot 7 inch 108
124              pound female sitting at the end of a 6 foot platform is neither capable of
125              nor would be compelled to engage in a physical fight against a group of
126              men almost double her size. The Plaintiff was also virtually encaged on
127              the platform she was sitting on. The Defendants implied that the
128              accusatory statements suggested by the men justified the attack and that
129              the Plaintiff was at fault for the incident.
130         L. Through this action, Isabelle Kerner, seeks to hold the Seattle Police
131              Department collectively accountable for failing to enforce the law and for
132              failing to follow the SPD guidelines pursuant to RCW 9A.36.080, for
133              knowingly falsifying the police report pursuant to RCW 42.20.040, for
134              failing to uphold their duties pursuant to RCW 42.20.100, for violating
135              their code of conduct and failing to investigate pursuant to RCW
136              42.20.080, for Official Misconduct pursuant to RCW 9A.80.010, and for
137              violating the Plaintiff's Fourteenth Amendment of Due Process and Equal
138               protection of the laws outlined in the United States Constitution.

139     II. JURISDICTION AND VENUE
140        1.    KING COUNTY DISTRICT COURT

141         A. The Jurisdiction of the King County District Court invoked pursuant to the
142              Civil Rights Act, RCW 3.66.020, and the Constitution of the United States.
143         B. The Venue is proper in this District under 28 U.S. Code § 1391 (e) and
144               RCW 3.66.040. The parties reside in this judicial district at time these
145              events occurred and the events giving rise to Plaintiff's claims also
146              occurred in this judicial district.


      Complaint - 9                                                            Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 10 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

147     III. PARTIES

148        1. ISABELLE ICERNER

149         A. Plaintiff Isabelle Kerner is an individual residing in Seattle, Washington.
150            Isabelle Kerner was born and raised in Seattle, Washington.

151        2. SEATTLE POLICE DEPARTMENT

152         A. Defendant Seattle Police Department is a municipal corporation, duly
153            incorporated under the laws of Washington State, is the employer and
154             principal of the defendant police officers, and is responsible for the
155             policies, practices and customs of its Police Department, City Council,
156            Office of Professional Accountability, and Police Board.

157     IV. FACTUAL ALLEGATIONS

158        1. TITLE 5, SECTION 1, ARTICLES 2, 10, 11, 13, AND 14 OF THE SPD POLICES
159               NUAL

160         A. 5.001-POL Article 2 states Defendants must adhere to the laws, policies
161            and procedures outlined by the federal, state, City of Seattle, and Seattle
162             Police Manual.

163         B. 5.001-POL Article 10 states Defendants must strive to be professional.

164         C. 5.001-POL Article 11 states Defendants must be truthful in all
165             communication

166         D. 5.001-POL Article 13 states Defendants must not use their authority for
167             personal gain.

168         E. 5.001-POL Article 14 states Defendants are prohibited from retaliating
169             against any person who provides a testimony related to a complaint of
170             allegation of misconduct.

171        2. THE INCIDENT — 17-374035

172         A. This incident took place on October 8, 2017 when the Plaintiff was
173             physically and verbally assaulted by a group of men on Capitol Hill.


      Complaint - 10                                                         Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 11 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

174         B. On October 8, 2017 at approximately 12:55am, the Plaintiff called 911
175            after a group of men attacked her while she was sitting on the end of a
176            scissor lift with two other friends approximately 4-6 feet above ground
177            level on the Southwest corner of 10th Avenue East and Pike Street on
178            Capitol Hill.
179         C. The incident began as one of the men yelled that the Plaintiff was a
180            "stupid fucking bitch" as they walked past the lift.
181         D. The Plaintiff and turned around to continue the conversation she was
182            having with her two friends sitting next to her.
183         E. While the Plaintiff was facing east, the men approached the Plaintiff from
184            the west, grabbed the Plaintiff by her hair and attempted to drag her off of
185            the lift onto the concrete while punching her multiple times in the head.
186         F. The men continued their attempt to drag the Plaintiff off of the lift. The
187            Plaintiff resisted by wrapping her arms and legs around the bars of the
188            encaged end of the lift.
189         G. The Plaintiff vividly remembers staring at the concrete below her as she
190            was dangling 4-6 feet above the ground.
191         H. The group of men punched the Plaintiff several times in the back of the
192            head and continued to try and rip out her hair.
193         I. The Plaintiff clung to the bars of the lift with her legs and one of her arms
194            resulting in several contusions on her arm and both legs.
195         J. The men continued to assault the Plaintiff until an independent witness,
196            Zulfiquar Sohaib, intervened and pulled the men off of the Plaintiff.
197         K. One of the men, Francisco Hayward, then punched the witness, Zulfiquar
198            Sohaib, in the face.
199         L. The assailants all began running west down Pike street.
200         M. Mr. Sohaib immediately called 911 and remained online with the 911
201            operators while he followed the men down Pike street.
202         N. The 911 operator directed Mr. Sohaib to night shift patrol SPD officers,
203            one of which was Defendant, Officer Donovan Lewis.


      Complaint - 11                                                         Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 12 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

204         0. Mr. Sohaib mentioned to the 911 operator and to responding officers that
205            the group of men verbally threatened him three times while he was
206            following them and were attempting to pick fights with other individuals
207            along the way.
208         P. Defendants Locate Alleged Assailants
209         Q. Mr. Sohaib identified the attackers who were standing in the middle of
210            the sidewalk on the corner of Harvard and Pike street.
211         R. One of the men was captured on the Defendant's body cam video
212            urinating in the middle of the sidewalk with an open bottle of tequila in
213            his back pocket.
214         S. The Defendants are captured on video verbally acknowledging that the
215            man was violating Ordinance 9.26.070 by urinating in public and
216            violating Seattle Municipal Code 18.12.278 by having an open container
217            of alcohol in public.
218         T. The Defendants did not cite the man for either of the two violations.
219         U. Defendant Officer Lewis is captured on video speaking privately with Mr.
220            Sohaib and the group of men without his audio cam turned on.
221         V. Mr. Sohaib explains to the Defendants that he does not know a single
222             person involved in the incident, does not care about being punched in the
223            face, but does not want the men to get away, as he witnessed them attack
224            the Plaintiff and believes they "really hurt her".
225         W. Mr. Sohaib is captured speaking with Mr. Hayward and asking him
226            whether or not he remembers punching him in the face and trying to drag
227            the girl off of the lift by her hair.
228         X. Officer Lewis is captured on video trying to convince Mr. Sohaib to drop
229            any charges because Mr. Hayward and his friends are "trying to come in
230             peace".
231         Y. The Defendants categorized the crime as a "Bias Crime," classifying it on
232            the police report as "anti-homosexual (gay/lesbian)".
233        3. RCW 9A.36.080


      Complaint - 12                                                       Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 13 of 35

      CASE NUMBER: TBD                                                  November 9TH, 2018

234         A. RCW 9A.36.080 defines malicious harassment as maliciously and
235            intentionally physically injuring, physically damaging or threatening a
236            specific person or group of people because of his or her perception of the
237            victim's race, color, religion, ancestry, national origin, gender, sexual
238            orientation, or mental, physical, or sensory handicap. "The fear must be a
239            fear that a reasonable person would have under all the circumstances.
240            For purposes of this section, a "reasonable person" is a reasonable person
241            who is a member of the victim's race, color, religion, ancestry, national
242            origin, gender, or sexual orientation, or who has the same mental,
243            physical, or sensory handicap as the victim. Words alone do not
244            constitute malicious harassment unless the context or circumstances
245            surrounding the words indicate the words are a threat. Threatening
246            words do not constitute malicious harassment if it is apparent to the
247            victim that the person does not have the ability to carry out the threat."

248         B. The group of men alleged that the Plaintiff had yelled racial and
249            homophobic slurs at the men, calling them "niggers and faggots" only
250            after one of the Defendants, Officer Donovan Lewis, suggested this.

251         C. The Plaintiff is a 110 pound 5 foot 6 inch female with no previous charges
252            or convictions for any crime.

253         D. The Plaintiff denied making any of these remarks and offered to take a
254            polygraph to prove her innocence.

255         E. The Plaintiff was born and raised in Seattle, WA, attended Garfield High
256            School where approximately 60% of the student population are
257            minorities.

258         F. The reason the Plaintiff was sitting on the lift was to avoid any possible
259            danger by staying out of the crowded sidewalk where she has seen fights
260            break out. She was waiting for two of her friends she met at Garfield High
261            School, one of whom is African American, to get pizza.

262        4. DEFENDANTS ABUSE DISCRETION



      Complaint - 13                                                          Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 14 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

263         A. Any one of the Defendants have the technology and ability to run an
264            individual's name through their database to check the criminal record of
265            that individual at any given time. This information is provided to the
266            Defendant and funded by the public so that they can use their knowledge
267            of an individual's prior history to exercise their discretion and protect the
268            public.
269         B. The men alleged to officers that the Plaintiff tried to grab one of the men,
270            Israel Ragunton's, by the wrist and "attack" him.
271         C. Mr. Hayward admitted to officers that he grabbed and pulled the Plaintiffs
272            hair in an attempt to "pull her off' of Mr. Ragunton.
273         D. Mr. Ragunton is 6 feet tall and weighs 190 lbs.
274         E. Mr. Hayward is 5 feet tall, weighs 140 lbs. and has multiple prior charges,
275            convictions and protection orders against him for assault, DUI's,
276            possession of a stolen vehicle, forgery, ect. Mr. Hayward was arrested
277            twice for assault after this incident in the same vicinity where it originally
278            occurred.
279         F. The only injury discussed in detail within the Defendant's police report
280            was Mr. Ragunton's broken fingernail.
281         G. At the time of this incident, Mr. Ragunton's nails were approximately 2-3
282            inches long and were likely "injured" from trying to rip the Plaintiff off of
283            the lift by her hair.
284         H. After questioning the men and before questioning the Plaintiff, the
285             Defendants are captured on video laughing with the group of men about
286            how the Plaintiff was lucky no one had a gun or a knife.
287         I. Just before their departure to the scene where the incident occurred, the
288             Defendants are captured on audio saying, "Alright, let's find these girls
289            and hold'em".
290         J. Defendants Intentionally Disabled Audio and/or Video Devices
291         K. After releasing all of the men, the Defendants headed to 10th Ave and
292             East Pike Street where the Plaintiff was waiting in an ambulance.


      Complaint - 14                                                         Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 15 of 35

      CASE NUMBER: TBD                                                   November 9TH, 2018


293         L. Several of the Defendants traveled by foot to the scene where the Plaintiff
294            was waiting while another Defendant, Sergeant Ragusa, accompanied
295            Officer Lewis in a patrol car. Defendant Sergeant Raguso disabled or
296            turned off his audio recorder during this ride.

297         M. At least one of the Defendants intentionally turned off or deleted the
298            audio and/or video recordings of the Plaintiff after assuring the Plaintiff
299            the interaction between the Plaintiff and the Defendants was being
300            recorded.

301        5. DEFENDANTS APPROACH SCENE OF INCIDENT AND ENCOUNTER PLAINTIFF

302         A. The Plaintiff had a series of injuries including, a swollen right knee, a
303            swollen left knee, a football sized contusion on her right thigh, swelling
304            on her scalp, contusions on her left arm, contusions on her right arm, a
305            dime sized cut on her right elbow and bald spots in the areas that the
306            attackers had ripped out her hair.

307         B. The Plaintiff was very distressed and in a considerable amount of pain
308            when the Defendants arrived.

309         C. Upon entering the ambulance one of the Defendants, Officer Lewis,
310            scoffed at the Plaintiff and said "So what's wrong with you?"

311         D. Prior to his arrival, Defendant Officer Lewis was very fired up and
312            appeared angry. Two paramedics who were in the ambulance at this time
313            as well as one of the Plaintiff's friends corroborate this. It is also
314            corroborated multiple times in the related OPA case file.

315         E. The Plaintiff then told Defendant, Officer Lewis, what had happened.

316         F. The Plaintiff immediately recognized Defendant Officer Lewis's contempt
317            against her as he continued to speak to the Plaintiff in an intimidating and
318            aggressive tone.

319         G. Defendant Officer Lewis then accused the Plaintiff of yelling racial and
320             homophobic slurs at the three attackers.

321        6. DEFENDANTS INTENTIONALLY FALSIFY INFORMATION



      Complaint - 15                                                           Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 16 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

322         A. When the Plaintiff asked Defendant Officer Lewis if she could videotape
323            him while he spoke to her so she could retain evidence of his misconduct,
324            he slapped his chest to a red flashing device and said, "See this? It's
325            already being recorded".

326         B. There is no evidence of any audio recording inside the ambulance where
327            Defendant Officer Lewis interrogated the Plaintiff despite the fact that his
328            audio recorder was on.

329         C. The incident was classified as a "disturbance/other" in the GO database
330            and as an "anti homosexual gay/lesbian crime" on the incident report.

331         D. Defendant Officer Lewis gave the Plaintiff a business card with a case
332            number that never existed.

333        7. DEFENDANTS BLAME PLAINTIFF FOR ASSAULT

334         A. Defendant Officer Lewis exited the AMR vehicle to consult with other
335            responding Defendants and is quoted in the AMR report; paramedic
336             recorded interviews and heard by the Plaintiff and her friends referring
337            to the Plaintiff as "a crazy white girl".

338         B. The above referenced statement made by said Defendant(s) violates
339            Titles 5, Section 1 of the SPD Policies and Procedures Manual.

340         C. The AMR report and paramedic interviews also note Officer Lewis's "very
341            abrasive tone and aggressive affect". Two bystanders are recorded on
342            audio expressing their anger and lack of understanding as to why the men
343            were not arrested, stating that, "I don't care who said what, anytime you
344             have a bodily injury from an assault, someone needs to go to jail".

345        8. TITLE 15, SECTION 120-POL IN VIEW OF RCW 9A.36.080 AND SMC
346           12A.06.115

347         A. Title 15, Section 120-POL outlines the policies pertaining to the Seattle
348             Police Department's responses to cases of "malicious harassment and
349             other incidents involving bias elements".


      Complaint - 16                                                         Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 17 of 35

      CASE NUMBER: TBD                                                    November 9TH, 2018

350         B. Per RCW 9A.36.080 and SMC 12A.06.115, a person is guilty of malicious
351            harassment if, because of his or her perception of another person's race, color,
352            religion, ancestry, national origin, gender, sexual orientation, or mental,
353            physical, or sensory handicap (felony), homelessness, marital status, political
354            ideology, age, or parental status (misdemeanor), he or she maliciously and
355            intentionally commits at least one of the following acts: causes physical injury
356            to another person, by threat, places another person in reasonable fear of harm
357            to his or her person or property or to the person or property of a third person,
358            or causes physical damage to or destruction of the property of another person.
359         C. Title 15, Section 120-POL, Chapter 2 of the Seattle Police Department
360            manual states "A Sergeant will be dispatched to the Scene of a Malicious
361            Harassment Incident Along with the Patrol Officers".
362         D. The sergeant will make sure that the officers conduct a thorough
363            investigation at the scene of the incident, with special emphasis placed on
364             preserving physical evidence.
365         E. When the Plaintiff asked one of the Defendants, Officer Lewis, who had
366            obviously taken the lead on this incident, why none of the men were
367            arrested, he told her it was because this is a bias crime and there are no
368            "unbiased, independent" witnesses.
369         F. When the Plaintiff asked the Defendants about Mr. Sohaib, Officer Lewis
370            told her he was friends with all of the men and was on his way to meet up
371            with them. The Defendant said that all Mr. Sohaib wanted was an apology
372            and that he dropped all charges once Mr. Hayward apologized. These
373             remarks are strongly contradicted by body cam videos of the Defendant's
374            interaction with Mr. Sohaib and the assailants as well as Mr. Sohaib's 911
375            call.
376         G. There were many people around at the time of the incident. The
377             Defendants did not attempt to find any other witnesses, did not take any
378             photographs, or preserve any evidence, despite their official duty to do so
379             per Title 15, Section 120 of the SPD Policies and Procedures Manual in
380            view of RCW 9A.36.080 and SMC 12A.06.115.


      Complaint - 17                                                            Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 18 of 35

      CASE NUMBER: TBD                                                      November 9TH, 2018

381        9. DEFENDANTS VIOLATE RCW 9A.80.010 — OFFICIAL MISCONDUCT

382         A. When the Plaintiff asked the Defendants if another officer could come to
383            take her report, Officer Lewis responded sarcastically saying, "Do you
384            want me to call the Sergeant over? She's already at the other scene with
385            the other party?"
386         B. The Plaintiff responded, "Yes, I would like the Sergeant to come."
387            Defendant, Officer Lewis said," Fine, I'll call her over."
388         C. There is no record of the Defendant, Sergeant Woolum, ever being at
389            Harvard and Pike street where the Defendants initially encountered the
390            assailants.
391         D. Further, the Plaintiff asked Defendant Sergeant Woolum to ensure that
392            Defendant Officer Lewis did not write the police report.
393         E. Defendant Sergeant Woolum told the Plaintiff that it wasn't possible to
394            have another one of the Defendants file the report. Defendant Sergeant
395            Woolum offered to file a complaint with the OPA on the Plaintiff's
396            behalf—a gesture that seemed genuine to the Plaintiff at the time.
397         F. The Plaintiff informed Defendant Sergeant Woolum that she would be
398            filing a complaint herself and "was not going to just let this incident go".
399         G. Several days after the incident, Defendant Sergeant Woolum filed an OPA
400            complaint against Defendant Officer Lewis.
401         H. The OPA complaint filed by Defendant Sergeant Woolum came days after
402            repeated phone calls and visits to the East Precinct Department by the
403             Plaintiff which resulted in unsuccessful attempts to submit physical
404            evidence and have her injuries photographed and documented and sent
405            for review by the "homicide detective."
406         I. When a crime is classified as "Bias" it is required for the Sergeant to be
407            dispatched along with other patrol officers to ensure that a thorough
408            investigation is conducted and all physical evidence is preserved.
409         J. Given the Defendants'classification of this incident as a bias crime in the
410            incident report, the Sargent should have been immediately dispatched to
411             both scenes per the guidelines in Title 15 of the SPD Manual.


      Complaint - 18                                                            Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 19 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

412         K. One of the AMR officers stepped outside of the vehicle informing the
413            Defendants that the Plaintiff needed to be transported to the hospital and
414            asked if the Sergeant could meet the Plaintiff at the hospital.

415         L. The Defendants replied no and are then captured on video after the
416            paramedic returned inside the AMR vehicle laughing about the request,
417            saying "No, sorry the Sergeant isn't going to come to the hospital for you".

418         M. Aside from the Sergeant, who appeared nearly an hour after the
419            responding Defendants arrived, every one of the assailants and all of the
420            Defendants were male.

421         N. According to Title 15, Section 120, Article 2 of the SPD manual, the
422            Sergeant should have been dispatched to the scene along with patrol
423            officers, not after the Plaintiff explicitly requested another the Sergeant
424            come.

425         0. On the way to the Emergency Room at Virginia Mason hospital, one of the
426             paramedics offered the Plaintiff a bag to collect the hair that the attackers
427             ripped from the victim's head and was continuously falling out.

428         P. Defendants refused to preserve physical evidence on multiple occasions.

429        10. DEFENDANTS VIOLATE RCW 42.20.100 — FAILURE OF DUTY

430         A. That same day, on October 8th, the Plaintiff returned to the East Precinct
431             to submit the evidence bag of hair and requested that Defendants take
432             photos of her injuries.

433         B. A Defendant at the front desk informed her that they don't accept
434             physical evidence "for these types of cases".

435         C. This Defendant was clearly under the impression that this was a
436            "disturbance/other" case, as classified in the GO database—a mistake the
437             Plaintiff believes Defendant Officer Lewis, et al, intentionally made to
438             further discredit her testimony and prevent further investigation into the
439             incident.


      Complaint - 19                                                         Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 20 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

440         D. The Plaintiff returned several times urging the Defendants to submit the
441            evidence. Each time, the Defendants refused to accept the evidence
442            despite the fact that the Defendants should have initially made efforts to
443            preserve all physical evidence per the SPD guidelines of Title 15.
444        11. PLAINTIFF    FILES    COMPLAINT        WITH    OFFICE   OF    PROFESSIONAL

445           ACCOUNTABILITY (OPA)

446         A. Several days later, the Plaintiff went down to the OPA to file her own
447            complaint against the Defendants and submitted a request for disclosure
448            of all reports, police audio and videotapes.
449         B. Her request for disclosure was stalled as Defendant Officer Lewis had
450            given the Plaintiff a business card with a case number that didn't exist.
451            The Plaintiff has maintained a copy of this card to this day and also
452            submitted a photograph of it to the Defendants at the OPA.
453         C. The Plaintiff was unaware of this error until the Public Disclosure Unit
454            informed her that no such case number existed.
455        12. DEFENDANT(S) INTIMIDATE OPA INVESTIGATION WITNESSES VIOLATING
456         A. About a month and a half after the incident, Defendant Officer Lewis,
457            went to Cactus restaurant in Madison Park to eat while he was off-duty.
458            One of the Plaintiffs friends, Natalie Caldwell, who was with her that
459             night and traveled in the ambulance with her was working and
460             recognized the Defendant. The Defendant also recognized Ms. Caldwell.
461             He approached her and aggressively said, "You're that girl who yelled at
462             me that one night on Capitol Hill."
463         B. This encounter was unprofessional, inappropriate, intimidating and
464             provides factual evidence of retaliation given Ms. Caldwell is listed as one
465            of the witnesses in the OPA investigation against the Defendant(s).
466        13. PHYSICAL    AND MENTAL IMPLICATIONS OF DEFENDANTS RESPONSE TO

467            INCIDENT

468         A. On Thursday, October 12th, the Defendant went to an appointment with
469             her hairstylist.


      Complaint - 20                                                         Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 21 of 35

      CASE NUMBER: TBD                                               November 9TH, 2018


470         B. The Defendant's hair stylist, Madison Walker, has been cutting her hair
471            since she was in 4th Grade.
472         C. When examining the Defendant's scalp, Ms. Walker began crying and
473            estimated that at least 25% of her hair had been ripped from her scalp.
474         D. Ms. Walker was not able to assure the Defendant that the hair would
475            grow back, as five days after the incident the bruising and redness was
476            still evident.
477         E. Ms. Walker urged the Plaintiff to see a dermatologist as soon as possible.
478         F. The Plaintiff consulted two different dermatologists who informed her
479            that her hair might grow back, but more hair may fall out in three months
480            due to the physical and emotional stress of the incident.
481         G. On October 15, 2017, the Plaintiff returned to the Virginia Mason
482            Emergency Room.
483         H. The Plaintiff returned due to concern regarding worsening head and scalp
484            pain along with depressed mood, flashing in her peripheral vision, and
485            the feeling that was going to die.
486         I. The Plaintiff was released and advised to immediately seek treatment for
487            anxiety and trauma regarding the incident and the way it was handled by
488            the Defendants.
489         J. On December 22, 2017, a psychiatrist evaluated the Plaintiff.
490         K. The Plaintiff underwent this evaluation for continued nightmares,
491            extreme anxiety and hyper vigilance at night.
492         L. She was diagnosed with acute stress disorder and was prescribed a
493            medication typically prescribed to veterans with PTSD to reduce
494            nightmares and was urged to seek therapy to prevent the development of
495            PTSD.
496         M. The Plaintiff contacted multiple therapists but was unable to get
497            treatment due to financial restrictions and limited scope of professionals
498            contracted with her health insurance plan.
499         N. On February 17, the Plaintiff returned to her dermatologist.
500            She was evaluated for increased hair loss.


      Complaint - 21                                                       Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 22 of 35

      CASE NUMBER: TBD                                                  November 9TH, 2018

501         0. Her dermatologist confirmed that she had lost more hair since she was
502            seen in October and that the cause was most likely due to stress from the
503            incident, which triggered surrounding hair follicles to go into a resting
504            stage.




505         P. This case was never assigned to a homicide detective and while the
506            concluded OPA investigation found some of the Plaintiff's allegations to
507             be sustained, the Plaintiff is seeking further reaffirmation to uphold the
508            serious. At the time of filing this Complaint, no detective has been
509            assigned to this case.




510     V. FIRST CAUSE OF ACTION




511        1. OFFICIAL MISCONDUCT RCW 9A.80.010




512         A. RCW 9A.80.010 states that a public servant is guilty of Official Misconduct
513             if with intent to deprive another person of a lawful right or privilege, he
514            or she intentionally refrains from performing a duty imposed upon him
515            or her by law.




516         B. Any elected, appointed, or designated officer or employee of government,
517            and any person participating as an advisor, consultant, or otherwise in
518             performing a governmental function; is considered a "public servant"
519             pursuant to the definition outlined in Section 9 of RCW 9A.04.110.


      Complaint - 22                                                         Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 23 of 35

      CASE NUMBER: TBD                                                  November 9TH, 2018

520         C. The Defendants engaged in Official Misconduct via their failing to uphold
521            the policies and procedures outlined in the SPD Manual, denying the
522            Plaintiff equal protection of the laws as set forth in the Fourteenth
523            Amendment of the United States Constitution, engaging in bias-policing,
524            attempting to discredit the Plaintiff in the written police report, failing to
525            conduct a thorough investigation, failing to acknowledge statements
526            made by the only independent witness, and ignoring the Plaintiffs First
527            Amendment right to free speech, as even if the Plaintiff had made the
528            verbal remarks alleged by her assailants and restated in the OPA
529            investigation by Defendant Officer Lewis, which she did not, those
530            remarks would still not justify assault or battery as defined by common
531            law.

532    VI. SECOND CAUSE OF ACTION

533        1. FALSE REPORT RCW 42.20.040

534         A. RCW 42.20.040 states that no public officer shall knowingly make any
535            false or misleading statement in any official report or statement, under
536            circumstances not otherwise prohibited by law.

537         B. The Defendants made numerous misleading statements and falsifications
538            on the official police report.

539         C. On the report, Defendant Officer Lewis listed the Plaintiff as having a drug
540            and alcohol disability. The Plaintiff has never been charged, convicted, or
541            arrested for any drug or alcohol related offense. She told Officer Lewis
542            that she had not had a drink for two hours prior to the incident and only
543            had two drinks, a bloody mary and a vodka soda, that night between 9:00
544            and 10:00pm.

545         D. Francisco Hayward, one of the assailants who was questioned by the
546             Defendants, has been arrested for multiple DUfs as well as a violation of
547            DUI ignition interlock devices.


      Complaint - 23                                                          Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 24 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

548         E. Another one of the men, who is not identified on the police report at all,
549            was captured on body-cam video urinating in the middle of the sidewalk
550            with an open container of tequila in his back pocket.
551         F. The Defendants verbally acknowledged this violation but did not issue
552            any citation or even a warning.
553         G. The Defendants classified this case as an "Anti-homosexual (gay/lesbian)"
554            crime on the incident report, implying that the Plaintiff was at fault for
555            the entire incident.
556         H. The Defendant's incident report excludes the assault against the Plaintiff
557            and no details surrounding the Plaintiffs injuries are included.
558         I. The plaintiff is a female and suffered numerous documented bodily
559            injuries that required two separate visits to the ER.
560         J. The Plaintiff was attacked by a group of men that were positively
561            identified by the independent witness, Mr. Sohaib, who was also
562            assaulted by the men when he attempted to stop the assault.
563         K. The independent witness also called 911 at the same time the Plaintiff
564            called 911 and it was immediately determined that the cases were
565             related.
566         L. Defendant, Officer Lewis, failed to mention or detail the assault in the
567            official police report, yet described in great detail Mr. Ragunton's broken
568             nail.
569         M. Defendant Officer Lewis also lied to the Plaintiff about the relationship of
570            the independent witness, Mr. Sohaib, to the group of men who assaulted
571             the Plaintiff and Mr. Sohaib.
572         N. Defendant Officer Lewis told the Plaintiff the men had "blood all over
573            them," that the independent witness was not actually an independent
574             witness because he was friends with all of them and was on his way to
575             meet up with them.
576         0. Surely, this would be corroborated had the audio recording evidence of
577             Defendant Officer Lewis making these statements hadn't mysteriously
578             disappeared.


      Complaint - 24                                                        Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 25 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

579         P. Defendant Officer Lewis's justification of his conduct, reporting, and
580            performance was greatly influenced by the other parties'allegations that
581            the Plaintiff had yelled racial and homophobic slurs at the men, an
582            insinuation Defendant Officer Lewis was actually the first to suggest.
583         Q. The men who assaulted the Plaintiff obviously seized this opportunity
584            knowing that they were guilty of committing a serious crime.
585         R. Defendant Officer Lewis intentionally attempted to discredit the Plaintiff
586            and frame the Plaintiff as the one at fault for the incident by intentionally
587            excluding relevant information, exaggerating irrelevant information, and
588            switching the physical descriptions of Mr. Ragunton and Mr. Hayward to
589             make his report sound more accurate. In doing so, Defendant Officer
590            Lewis involved other Defendants who were present during this incident
591            and approved, reviewed, signed off on his written incident report.

592    VII. THIRD CAUSE OF ACTION
593        1. FAILURE OF DUTY RCW 42.20.100 IN VIEW OF RCW 9A.36.080 MALICIOUS
594           HARASSMENT

595         A. RCW 42.20.100 states that willful neglect of any duty enjoined by law
596             upon any public officer constitutes failure of duty. The Defendants failed
597            to perform their duties pursuant to the SPD guidelines set forth for
598            violations pertaining to RCW
599         B. RCW 9A.36.080 states that a person is guilty of malicious harassment if
600             he or she maliciously and intentionally causes physical injury to the
601            victim or another person, threatens a specific person or group of persons
602            and places that person, or members of the specific group of persons
603             because of his or her perception of the victim's race, color, gender or
604            sexual orientation. The fear must be a fear that a reasonable person who
605             is a member of the victim's race, color, gender, or sexual orientation as
606             the victim would have under all of the circumstances. Words alone do not
607            constitute malicious harassment unless the context or circumstances
608            surrounding the words indicate the words are a threat.


      Complaint - 25                                                         Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 26 of 35

      CASE NUMBER: TBD                                                 November 9", 2018

609         C. Threatening words do not constitute malicious harassment if it is
610            apparent to the victim that the person does not have the ability to carry
611            out the threat.
612         D. The Defendants classified this case as an "Anti-homosexual (gay/lesbian)
613            crime".
614         E. According the SPD Manual, specific policies and procedures must be
615            followed for all hate crimes or crimes with bias elements.
616         F. Section 2 of 15.120 - POL states that a Sergeant will be dispatched to the
617            scene of a harassment incident along with the patrol officers. The
618            Sergeant will make sure that the officers conduct a thorough investigation
619            at the scene of the incident, with special emphasis placed on preserving
620             physical evidence.
621         G. The Defendants dispatched a Sergeant to the scene where the suspects
622            were questioned, but did not dispatch a Sergeant to the scene where the
623             incident occurred and where the Plaintiff was waiting in an Ambulance
624             until the Plaintiff requested one respond and one arrived at least an hour
625            later.
626         H. No investigation was conducted and all of the men who assaulted the
627             Plaintiff were released before any of the Defendants arrived to the scene
628            of the alleged crime where the Plaintiff was waiting in an ambulance.
629         I. It was not until the Plaintiff explicitly requested another officer be
630            dispatched to the scene that Defendant Officer Lewis said, "What do you
631             want me to do? Call the Sergeant? She's already down the street with the
632            other 'victims".
633         J. While Defendant Officer Lewis referred to Defendant Sergeant Woolum,
634            she was actually never at the scene where the group of men were
635             questioned. It was actually Defendant Sergeant Raguso who responded to
636             the site where the men were questioned.
637         K. At this stage, all of the responding Defendants, including Defendant
638            Sergeant Raguso, were male.


      Complaint - 26                                                         Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 27 of 35

      CASE NUMBER: TBD                                                  November 9TH, 2018

639         L. The Sergeant should have been immediately dispatched to the scene
640            where the incident occurred and the Plaintiff was waiting along with
641            patrol officers.

642         M. The Plaintiff is a female who was assaulted by a group of men and then
643            further accused and aggressively questioned by the Defendants who were
644            all men.

645         N. The physical capabilities of men are already much greater than that of
646            women due to biological differences in size, strength, muscle fibers, and
647            ability to execute force.

648         0. No physical evidence was preserved, no photographs were taken, and no
649            attempt was made by the Defendants to find other individuals who had
650            also witnessed the assault.

651         P. The Plaintiff also offered to take a polygraph to prove the allegations
652             made by the Defendants and the men who assaulted her were completely
653            fabricated and unrelated to the assault.

654         Q. Defendant Sergeant Woolum, who was the only other female involved in
655            this incident, filed a complaint with the Office of Professional
656            Accountability (OPA) against responding patrol officers days after the
657             incident. While the Plaintiff initially thought Defendant Sergeant Woolum
658            was standing up for the extreme atrocities of this incident and the way it
659            was handled, it has become increasingly evident Defendant Sergeant
660             Woolum filed this complaint to protect herself — perhaps once she
661             realized the Plaintiff really was not going to just forget about the incident
662            and "let it go".


663   VIII. FOURTH CAUSE OF ACTION

664        1. FAILURE OF DUTY RCW 42.20.100 IN VIEW OF RCW 9A.36.011 AND RCW
665           10.31.100


      Complaint - 27                                                         Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 28 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

666         A. RCW 42.20.100 states that willful neglect of any duty enjoined by law
667            upon any public officer constitutes failure of duty. The Defendants failed
668            to perform their duties pursuant to the SPD guidelines set forth for
669            violations pertaining to RCW 9A.36.011.

670         B. RCW 9A.36.011 states that a person is guilty of assault in the first degree
671            if he or she, with intent to inflict great bodily harm, assaults another by
672            any force or means likely to produce great bodily harm or death; or
673            assaults another and inflicts great bodily harm.

674         C. When the group of men physically assaulted the Plaintiff, she was neither
675            in a position to defend herself nor had the physical capabilities to carry
676            out the allegations made against her. This should have been immediately
677            apparent to the responding Defendants. An independent witness also
678            called 911 to report the assault and followed the men to ensure they
679            would be apprehended for assaulting the Plaintiff. It is very unlikely that
680            the men who assaulted the Plaintiff and the independent witness would
681            run away without calling 911 to report the assault if they were not
682            actually the perpetrators of the incident.

683         D. Defendant Officer Lewis questioned the independent witness behind a
684            corner outside the view of all other Defendants' body cameras and audio
685            recorders.

686         E. Defendant Officer Lewis did not turn on his audio recorder; therefore
687            there is no audio record or video recording of him questioning the
688            independent witness.

689         F. Though at least one of the men who assaulted the Plaintiff was a repeat,
690            violent offender with multiple previous felony assault charges and at least
691            one felony assault conviction, the Defendants released all men before
692            they responded to the scene where the Plaintiff was waiting in an
693            ambulance and did not do a criminal background check on the Plaintiff or
694            any of the other parties involved.


      Complaint - 28                                                         Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 29 of 35

      CASE NUMBER: TBD                                                  November 9TH, 2018

695         G. The Defendants informed the Plaintiff that the men were also injured and
696              "had blood everywhere". This is a false statement as the only injury
697              sustained by all member of the party was a broken nail.
698         H. The Defendants should have made at least one arrest and/or should have
699              followed their Official Duty to protect the Plaintiff by providing her with
700              the resources and information needed to file a protection order against
701              the men. They did not.
702         I.   None of the men called 911 or attempted to report their allegations
703              against the Plaintiff to the Defendants. Instead, they ran away from the
704              scene of the incident and made these allegations after the independent
705              witness called 911, followed the men several blocks west down Pike
706              street and led responding Defendants to their location.
707         J. The group of men identified by the Plaintiff and the independent witness
708              fled the scene where they assaulted the Plaintiff and not a single one of
709              them reported or attempted to report their allegations against the
710              Plaintiff until the Defendants approached them and Defendant Officer
711              Lewis asked if they believe they were "targeted" by the Plaintiff because
712              of their race and/or sexual orientation.
713         K. The Defendants are captured on video and audio talking to the group of
714              men about how the Plaintiff was lucky "no one had a gun or a knife,"
715              implying that she deserved to die and also implying that if any of them
716              had a gun or a knife at the time this incident occurred, the Plaintiff would
717              likely be dead.
718         L. At least one of the Defendants, Officer Lewis, failed to activate his audio
719              recording device.
720         M. It is clear in the video footage that his audio recorder is turned off as no
721              red light is flashing while he is questioning the men and the independent
722              witness behind a storefront outside the range of other Defendants audio
723              and video recorders.
724         N. In the ambulance, the Plaintiff asked Defendant Officer Lewis if she could
725              use her cell phone to videotape and record his conduct with her.


      Complaint - 29                                                          Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 30 of 35

      CASE NUMBER: TBD                                                 November 9TH, 2018

726         0. He aggressively slapped the red flashing device on his chest and informed
727            her it was already being recorded. There are several witnesses to
728            corroborate this account.
729         P. No such audio recording of Defendant Officer Lewis appears to exist. The
730            Plaintiff has been provided with all available and accessible records from
731            the Seattle Police Department Public Disclosure Unit and the audio
732            recordings of Defendant Officer Lewis have either mysteriously
733            disappeared and/or cannot be found in any record of this case.

734    IX. FIFTH CAUSE OF ACTION
735        1. VIOLATION OF THE FIFTH AMENDMENT
736         A. The Fifth Amendment of the United States Constitution states that "No
737             person... shall be compelled in any criminal case to be a witness against
738            himself, nor be deprived of life, liberty, or property, without due process
739            of law... without just compensation."
740         B. The Defendant's failure to follow proper SPD policies and procedures,
741            falsely reporting the aforementioned incident, and avoiding investigation
742            of the incident, is an abuse their discretion — whether intentional or not,
743            this is a violation of the Plaintiff's Fifth Amendment right to Due Process.
744         C. The Defendants deprived the Plaintiff of her life and liberty:
745             psychologically, emotionally, and financially.
746         D. In their response to this incident, the Defendants not only failed to
747             perform their Official Duty, as defined by RCW, SMC, and SPD laws and
748            standards, but also projected their own institutional deficiencies onto the
749             Plaintiff by releasing the suspects before interviewing the Plaintiff or
750            arriving at the scene where the incident originally occurred, prematurely
751            determining the nature and cause of the incident, falsely reporting the
752             incident to justify these deficiencies, and further attempting to intervene
753             in the outcome of the Plaintiff's OPA complaint by intimidating involved
754            witnesses.

755     X. SIXTH CAUSE OF ACTION


      Complaint - 30                                                         Isabelle Kerner
         Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 31 of 35

      CASE NUMBER: TBD                                                   November 9TH, 2018

756        1. VIOLATION OF THE FOURTEENTH AMENDMENT

757         A. The Due Process and Equal Protection Clause of the Fourteenth
758             Amendment of the United States Constitution states that "[No] State
759             [shall] deprive any person of life, liberty, or property, without due
760             process of law; nor deny to any person within its jurisdiction the equal
761             protection of the laws."
762         B. The Defendants violated the Plaintiffs Fourteenth Amendment right to
763             Due Process through their failure of duty, false reporting, and
764             misconduct.
765         C. The Defendants violated the Plaintiffs Fourteenth Amendment right to
766             Equal Protection of the laws by not enforcing the laws violated during the
767             incident in questions.
768         D. The Defendants further violated the Plaintiffs Fourteenth Amendment
769             right to Equal Protection by falsely reporting information and adding
770             unsubstantiated information that could knowingly discredit the Plaintiffs
771             testimony.
772         E. The Defendants further violated the Plaintiffs Fourteenth Amendment
773             right to Equal Protection of the laws by failing to protect her. The
774             Plaintiffs belief that the Defendants are capable and/or willing to protect
775              her and the rest of the public has been shattered. The Plaintiff now knows
776             that Equal Protection of the laws, as defined by the Fourteenth
777             Amendment of the United States Constitution, will never exist as long as
778              the scale is tipped in favor of the institutions that enforce them.

779     XI. DAMAGES AND RELIEF REQUESTED
780        1.   COMPENSATORY DAMAGES:

781         A. The Plaintiff is seeking $50,000 in emotional distress damages.
782        2.   PUNITIVE DAMAGE

783         A. The plaintiff is seeking $50,000 in punitive damages.
784        3.   REMOVAL OF FALSIFIED INFORMATION ON SPD DATABASE



      Complaint - 31                                                           Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 32 of 35

      CASE NUMBER: TBD                                                November 9TH, 2018

785         A. The Plaintiff is seeking to have the Defendant remove their note listing
786            her as having a "drug and alcohol disability" from their record(s) and
787             database.
788         B. The note on the Plaintiff's record — created by the Defendant was
789            completely unnecessary and unsubstantiated given the Plaintiff was
790             never arrested, charged, or convicted with any drug or alcohol related
791             crime or incident.
792         C. While the suspects that the Plaintiff alleges violently assaulted her were
793             acknowledged by the Defendants for violating several state and municipal
794            laws, the suspects were never cited for any. At least one of the suspects
795             also had a violent a drug-related criminal history.

796    XII. EXHIBITS
797        1. EXHIBIT A - 20170PA-1080 CASE CLOSE SUMMARY
798        2. EXHIBIT B - POLICE REPORT - 17-374035_REDACTED
799        3. EXHIBIT C - SOHAIB 911 CALL - Aumo_1779785
800        4. EXHIBIT D - ISABELLE 911 CALL - AUDIO 1779786
801        5. EXHIBIT E - SUSPECT VIDEO -AXON_Boov_2_VIDEo_2017-10-08_0054
802        6. EXHIBIT F - SUSPECT TO OFFICER - 7715_4020171008010502
803        7. EXHIBIT G - OFFICER TO ATTACKERS - CHARGING BIAS CRIME -
804           6793_4020171008011642
805        8. EXHIBIT H - SCISSOR LIFT -      G_2626
806        9. EXHIBIT I- SCISSOR LIFT VIDEO TIME STAMP - IMG_2627
807        10. EXHIBIT J - VIDEO AMBULANCE SCENE - AXON_BODY_2_VIDE0_2017-10-
808           08_0128_REDAscTED
809        11. EXHIBIT K - VIDEO AMBULANCE -8395%4020171008005933 REDACTED
810        12. EXHIBIT      L    -    BYSTANDER        TESTIMONY      TO     OFFICER
811           8395%4020171008005934_REDAcTED
812        13. EXHIBIT M - AMBULANCE SCENE -                 ON_BODY_2_VIDEO_2017-10-
813           08 0128-2_REDAcTED
814        14. EXHIBIT N - INCORRECT CASE NUMBER
815        15. EXHIBIT 0- CALL FROM OFFICER TO PARAMEDICS - AUDIO 1779788


      Complaint - 32                                                       Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 33 of 35

      CASE NUMBER: TBD                                              November 9TH, 2018

816        16. EXHIBIT   P     -   ERIN   TO      SRGT      INDEPENDENT       WITNESS
817           6269_4020171100814643
818        17. EXHIBIT Q - SUSPECT INJURY - SCREEN SHOT 2017-11-14 AT 11.50.58 PM
819        18. EXHIBIT R - 20170PA-1080 AUDITOR CERTIFICATION MEMO AS UNTIMELY
820        19. EXHIBIT S - 20170PA-1080 CIVILIAN (DND__) - SGT ANTHONY
821           BENNETT_REDACTED
822        20. EXHIBIT T - 20170PA-1080 CIVIL              (DND_) - SGT ANTHONY
823           BENNETT_REDACTED
824        21. EXHIBIT U - 20170PA-1080 CIVILIAN (DND)                 SGT ANTHONY
825           BENNETT_REDACTED
826        22. EXHIBIT V - 20170PA-1080 OPA CLASSIFICATION REPORT
827        23. EXHIBIT   W         20170PA-1080     INVESTIGATION    PLAN    &   CASE
828           SUMMARY_REDACTED
829        24. EXHIBIT X - FRANCISCO HAYWARD BACKGROUND PROFILE
830        25. EXHIBIT Y - 20170PA-1080 INTAKE FOLLOW-UP_REDACTED
831        26. EXHIBIT Z - 20170PA-1080 PAS ENTRY — RAGUSO
832        27. EXHIBIT ZO - 20170PA-1080 CASE COMPLETION MEMO
833        28. EXHIBIT   Z1   - 20170PA-1080, LEWIS SIGNED          RECEIPT, WRITTEN
834            REPRIMAND
835        29. EXHIBIT Z2 - 20170PA-1080 COMPLAINANT VM 06-11-18
836        30. EXHIBIT   Z3 - 20170PA-1080 A             DOCUMENTS      PROVIDED    BY
837           COMPLAINANT
838        31. EXHIBIT Z4 - 20170PA-1080 Aumo_1790674 911 CALL #1
839        32. EXHIBIT Z5 - 20170PA-1080 Aumo_1790675 911 CALL #2
840        33. EXHIBIT Z6 - 20170PA-1080 Aumo_1790676 911 CALL #3
841        34. EXHIBIT Z7 - 20170PA-1080 Aum0_1790677 911 CALL #4
842        35. EXHIBIT Z8 - 20170PA-1080 COMPLAINANT VM (1-16-2018)
843        36. EXHIBIT Z9 - 20170PA-1080 COMPLAINANT YM (2-23-2018)
844        37. EXHIBIT Z10 - 20170PA-1080 DCM FINAL
845        38. EXHIBIT Z11 - 20170PA-1080 DISCIPLINE MEETING


      Complaint - 33                                                    Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 34 of 35

      CASE NUMBER: TBD                                            November 9TH, 2018

846        39. EXHIBIT Z12 - 20170PA-1080 INTERVIEW AVAILABILITY REQUEST - LEWIS
847           020218
848        40. EXHIBIT Z13 - 20170PA-1080 INTERVIEW AVAILABILITY REQUEST
849           RAGUSO 020218
850        41. EXHIBIT Z14 - 20170PA-1080 MEDICAL RELEASE FORM OPA ISABELLE
851           KERNER
852        42. EXHIBIT Z15 - 20170PA-1080 OPA CLASSIFICATION NOTIFICATION EMAIL
853        43. EXHIBIT Z16 - 20170PA-1080 ORIGINAL COMPLAINT SUMMARY
854        44. EXHIBIT Z17 - 20170PA-1080 SWORN EMPLOYEE IN-PERSON INTERVIEW
855           NOTIFICATION -       GUSO 020618
856        45. EXHIBIT Z18 - 20170PA-1080 SWORN WITNESS EMPLOYEE IN-PERSON
857           INTERVIEW NOTIFICATION - CLARK 020218
858        46. EXHIBIT Z29 - 20170PA-1080 SWORN WITNESS EMPLOYEE IN-PERSON
859           INTERVIEW NOTIFICATION - PATTON 020618
860        47. EXHIBIT Z20 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
861           NOTIFICATION - AGUIRRE 020618
862        48. EXHIBIT Z21 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
863           NOTIFICATION - JORDAN 020618
864        49. EXHIBIT Z22 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
865            NOTIFICATION - WARNOCK 020618
866        50. EXHIBIT Z23 - 20170PA-1080 SWORN WITNESS IN-PERSON INTERVIEW
867           NOTIFICATION - WOOLLUM 020618
868        51. EXHIBIT   Z24   -   20170PA-1080    WITNESS   EMPLOYEE       INTERVIEW
869            AVAILABILITY REQUEST - WOOLLUM 020218
870        52. EXHIBIT   Z25   -    20170PA-1080   WITNESS    OFFICER       INTERVIEW
871            AVAILABILITY REQUEST - ABTS-OLSON 020218
872        53. EXHIBIT   Z26   -    20170PA-1080   WITNESS    OFFICER       INTERVIEW
873            AVAILABILITY REQUEST - CLARK 020218
874        54. EXHIBIT   Z27   -   20170PA-1080    WITNESS   OFFICER    —   INTERVIEW
875            AVAILABILITY REQUEST - WARNOCK 020218
876        55. EXHIBIT Z28 - 20170PA-1080, LEWIS PROPOSED D      PACKET


      Complaint - 34                                                    Isabelle Kerner
          Case 2:18-cv-01737-JCC Document 1-2 Filed 12/03/18 Page 35 of 35

      CASE NUMBER: TBD                                          November 9 111 , 2018

877        56. EXHIBIT Z29 - 20170PA-1080, LEWIS WRITTEN REPRIMAND PACKET




878        57. EXHIBIT Z30 - 20170PA-1080 COMPLAINANT       06-07-18




879        58. EXHIBIT Z31 - ISABELLE TO SRGT - EXPLAINING OFFICER CONDUCT -
880            ADMITTING TO INDEPENDENT WITNESS - 6269_4020171008014644




881        59. EXHIBIT Z32 - ARM INJURIES




882        60. EXHIBIT Z33 - HAIR/SCALP INJURIES




883        61. EXHIBIT Z34 - LEG CONTUSIONS




884        62. EXHIBIT Z35 — INJURY/MEDICAL RECORDS




885        Dated this 9th day of November 2018.



886




887                                                ISABELLE JEAN KERNER




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      Complaint - 35                                                   Isabelle Kerner
